                                         Case 3:17-cv-06932-MMC Document 46 Filed 03/12/18 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        MICRON TECHNOLOGY, INC.,
                                   7                                                    Case No. 4:17-cv-06932-JSW
                                                       Plaintiff,
                                   8
                                               v.                                       CLERK'S NOTICE CONTINUING
                                   9                                                    HEARING ON MOTION TO DISMISS
                                        UNITED MICROELECTRONICS                         AND MOTION TO STAY
                                  10    CORPORATION, et al.,
                                                                                        Re: Dkt. Nos. 27, 30
                                  11                   Defendants.

                                  12
Northern District of California
 United States District Court




                                  13                   YOU ARE HEREBY NOTIFIED that on April 6, 2018 at 9:00 A.M., in

                                  14         Courtroom 5 on the 2nd floor of the Federal Courthouse, 1301 Clay Street, Oakland,

                                  15         California, the HONORABLE JEFFREY S. WHITE will conduct the Motion to Dismiss

                                  16         (doc. 27) and Motion to Stay (doc. 30) previously noticed for March 23, 2018, in this

                                  17         matter.

                                  18   Dated: March 12, 2018
                                                                                      Susan Y. Soong
                                  19                                                  Clerk, United States District Court
                                  20

                                  21
                                                                                      By: ________________________
                                  22                                                  Jennifer Ottolini, Deputy Clerk to the
                                                                                      Honorable JEFFREY S. WHITE
                                  23                                                  510-637-3541
                                  24

                                  25

                                  26
                                  27

                                  28
